       Case 4:18-cv-00466-RH-CAS Document 1-4 Filed 10/10/18 Page 1 of 2




October 3, 2018

Secretary Ken Detzner, Secretary of State
Florida Department of State
R.A. Gray Building
500 South Bronough Street
Tallahassee, FL 32399

Dear Secretary Detzner,

We write to express our concerns regarding the Department of State’s readiness to handle any problems
that may arise with its new online voter registration (“OVR”) website (​www.registertovoteflorida.gov​).
We respectfully request information on what your office has done to address issues with the website
operations that were identified in advance of the August primary and how your office plans to prevent and
resolve problems in advance of next week’s general election voter registration deadline.

As you are aware, OVR systems are frequently plagued with unanticipated problems when they are first
adopted. In 2016, Virginia’s new OVR system crashed on the day of the registration deadline, prompting
a federal lawsuit and court-ordered extension of the registration deadline.1 Florida had problems of its
own shortly before the book closing deadline for this year’s August primary, when voters were unable to
register due to an error in the coding of the site. Since last year, Access Democracy, one of the
undersigned organizations, has made repeated public records requests for information pertaining to the
security and stability of the OVR system. The Secretary of State’s office has not responded.

To ensure that all eligible voters in Florida can register before the upcoming election, we seek your
responses to the following questions:

    1. What steps have been taken to resolve the technical problems with the OVR website since July?
    2. What progress has been made to ensure that similar technical problems will not prevent voters
       from registering in advance of the approaching Oct. 9 registration deadline?
    3. What actions have been taken to ensure that the website has the capacity to handle a high volume
       of registrations in the days before the deadline?

1
 ​See​ ​New Virginia Majority Educ. Fund v. Virginia Dept. of Elections,​ No. 16-cv-01319, Order (E.D. Va.
Oct. 20, 2016) (​available at
http://www.alexandrianews.org/2016/anfiles/2016/10/Court-Order-reopening-of-voter-registration.pdf​);
Laura Vozella, ​Voter registration system crashes in Va., preventing some from signing up in time​,
Washington Post (Oct. 18, 2016),
https://www.washingtonpost.com/local/virginia-politics/voter-registration-system-crashes-in-va-preventing-
some-from-signing-up-in-time/2016/10/18/5336f1ae-9558-11e6-9b7c-57290af48a49_story.html?utm_term
=.6ce77c14627b
       Case 4:18-cv-00466-RH-CAS Document 1-4 Filed 10/10/18 Page 2 of 2




    4. What procedures are in place to deal with any issues that may arise with the website? Will your
       office commit to extending the registration deadline in the event of any unanticipated problems?

Thank you for your continued attention to this matter. We look forward to your response.

Respectfully,




Dan Horton
State Director, All Voting is Local-Florida




Hannah Fried
Executive Director, Access Democracy and Director, All Voting is Local, A Project of The Leadership
Conference Education Fund
